1. The court did not err in overruling the demurrer to the indictment.
2. The verdict of guilty was supported by the evidence.
3. It was not reversible error, under the facts of this case, and for the reasons set forth in the opinion, for the solicitor-general to propound to the witness questions as to his violation of the law concerning the commission of an offense not involving moral turpitude. *Page 154 
4. The charge of the court, as set forth in special ground 2, under all the facts of this case does not amount to reversible error.
5. The Code, § 38-107, insofar as it relates to matters pertinent to the consideration of the credibility of witnesses, may be given in charge to the jury in a criminal case.
     DECIDED SEPTEMBER 19, 1945. REHEARING DENIED NOVEMBER 9, 1945.
The defendant was convicted of illegally distilling alcoholic liquors. The substance of the indictment necessary to be set out is: "That the said C. C. Couch did on the 26th day of December of the year of Our Lord 1944, in the county aforesaid, unlawfully and with force and arms distill, manufacture, and make alcoholic liquors, spirituous liquors, and whisky and rum, contrary to the laws of the State."
The defendant filed a demurrer to the indictment, alleging general and special grounds substantially as follows: Generally — (1) That the indictment sets forth no offense under the laws of Georgia. Specially — (2) That it nowhere appears in the indictment that the defendant had not been issued a license authorizing him to manufacture and distill liquor as authorized under the provisions of the revenue tax act to legalize and control alcoholic beverages and liquor; (3) that under the terms of the indictment the defendant might be found guilty of distilling, manufacturing, and making alcoholic liquors from perishable fruits grown in Georgia, and by the terms of said act the Revenue Commission may issue a license to the growers of such fruit "to manufacture and distill liquors defined by this act from such perishable fruit grown in this State," and it is nowhere alleged that the defendant "did not have such a license," (4) that under the allegations of the indictment the defendant could be convicted should the jury find that he distilled and manufactured and made alcoholic liquors which would include beer or wine, and that it is not contrary to the laws of Georgia to manufacture or make beer or wine; (5) that under the allegations of the indictment the defendant could be convicted of distilling or manufacturing all forms of alcoholic liquors, and some form of distillation and manufacturing of alcoholic liquors is not contrary to law; (6) that the allegations of the indictment the defendant could be convicted should the jury find that he distilled and manufactured and made alcoholic liquors which would include beer or wine, and that it is not contrary to the laws of Georgia to manufacture or make beer or wine; (5) that under the allegations of the indictment the defendant could be convicted of distilling or manufacturing all forms of alcoholic liquors, and some form of distillation and manufacturing of alcoholic liquors is not contrary to law; (6) that the allegations of the indictment are duplicitous, for that in the same count acts are *Page 155 
alleged that constituted no offense against the laws of Georgia, as well as acts which did constitute an offense under the laws of Georgia. This demurrer was overruled. The defendant excepted pendente lite. The case proceeded to trial.
Facts. Several revenue officers approached within about 50 yards of the still, which was in full operation. Observed at the still was a negro, Ben Bolton, and the accused. Upon further approach, Bolton and the accused fled. The officers pursued them, capturing Bolton. The defendant eluded them after running from under his hat. The officers saw the defendant shed his hat, and further testified that they had known the defendant for a long number of years, and, positively, the accused was at the still. There were two stills of rather large capacity. One was in full operation, distilling whisky from corn mash and syrup. The defendant was busy around the still. He was dipping the whisky into syrup cans. After the flight of the defendant and the arrest rest of Ben Bolton, the officers returned to the still and the tub into which the whisky was running was overflowing. The defendant denied his presence at the still and stated that, at the time of the alleged offense, he was some 150 yards from the still, working on a fence. Bolton claimed to be the owner of the outfit, denied the presence of the accused as the officers testified, and took the full responsibility.
After conviction the defendant filed his motion for a new trial, which as amended contained the general grounds and three special grounds. We will deal with the questions in their order.
1. With reference to the assignments of error on the demurrer, we think it sufficient to say only that the indictment charged that the defendant unlawfully distilled and manufactured liquor. If there be anything in the indictment which may be construed as contended by the defendant, in any of the grounds of his demurrer to the effect that the indictment alleged unlawful as well as lawful acts, the latter may be considered as mere surplusage. This view is sustained by the decision inBrown v. State, 67 Ga. App. 550 (21 S.E.2d 268), and cit. It must be kept in mind that the indictment alleged that the offense charged was unlawfully distilling alcoholic liquors, contrary *Page 156 
to the laws of this State. The assignments of error on the overruling of the demurrer, both general and special, are without merit.
2. As to the general grounds, the jury were authorized to believe the defendant guilty and so found.
3. The first special ground assigns error because, while a witness for the defendant was testifying, the solicitor-general was permitted, over the defendant's objections, to propound certain questions to the witness and elicit certain answers thereto. One of the questions propounded was whether the witness had been engaged in illegal traffic in alcoholic liquor. The witness denied it. Then the witness was further asked if he had not entered a plea of guilty for selling liquor. Counsel for the defendant then and there objected on the ground that the plea of guilty would be the highest and best evidence. The solicitor stated that he expected to have the record there. Thereupon the court allowed the solicitor to proceed with this line of questioning, and the solicitor further propounded a question to the witness as to where the witness procured the liquor he sold. The witness denied that he had been in the liquor business, denied that he had sold any liquor, denied that he had gotten any from the defendant to sell, and denied that he had ever seen the defendant before. Error is assigned on this line of questioning, because the solicitor failed to produce the plea of guilty and did not introduce any record of an indictment or an accusation in which the witness was charged with violating the prohibition law, and because for this reason the ruling of the court in permitting such testimony was harmful and prejudicial and demanded a new trial. The exceptions in this ground do not require a reversal, for two reasons: (a) When a trial judge, over objections, conditionally permits preliminary questions on the understanding that the party propounding the questions will connect it up (in this case with a certified copy of the record), it is the duty of the objecting party, if such testimony is not connected up, to renew his objections and call the court's attention to it. The only objection which counsel for the plaintiff in error interposed was that the record would be the highest and best evidence. When the solicitor did not produce a certified copy, as he stated to the court he would do, counsel for the plaintiff in error should have renewed his objection, and no doubt *Page 157 
the court would have sustained him. (b) Again, the witness stated that he had never dealt in liquor, had never been convicted, and had never seen the defendant before. In this view, conceding that the court erred, we can not discern that it was harmful or prejudicial to the accused. This ground assigns no reason why this court should reverse the judgment.
4. Special ground 2 complains because of the following charge of the court: "I charge you further, gentlemen, that should you believe that this defendant, in this county, at any time within four years prior to the finding and returning of this bill of indictment into court by the grand jury, was present at a still where and when any one of the alcoholic, spirituous, and intoxicating liquors or beverages named in the indictment was being distilled, manufactured, or made, and on seeing an officer approach fled, his presence and flight, unless satisfactorily explained to the jury, and of which explanation the jury are the sole and exclusive judges, would authorize a conviction for the distilling, manufacturing, or making, alcoholic, or spirituous, or intoxicating liquors, or beverages as charged in the indictment." The errors assigned to this excerpt were: (a) an erroneous conclusion of law; (b) that the judge did not immediately and in conjunction therewith charge the jury "it is not a conclusive circumstance but one that would authorize the jury, if unexplained, to treat the defendant as guilty and convict," and that such principle was nowhere given to the jury; (c) that the court did not charge the definition of circumstantial evidence, and did not state to the jury that the principle which the court gave in charge was an application of law relative to circumstantial evidence; (d) because it was the duty of the court, after having charged an application of the law of circumstantial evidence, to give in connection therewith the definition of circumstantial evidence, so the jury would know how to apply the same; (e) because under such charge the movant might be convicted for making, manufacturing, or distilling alcoholic liquors, which is not made penal under the law.
In support of his contentions the defendant relies on Smith
v. State, 43 Ga. App. 223 (158 S.E. 365); Yonce v.State, 154 Ga. 419 (114 S.E. 325); Alsabrook v. State,35 Ga. App. 592 (134 S.E. 333), and Lindsay v. State,32 Ga. App. 74 (3) (122 S.E. 649). It is contended by able counsel for the defendant that in *Page 158 
these cases the court charged: "It is not a conclusive circumstance but one that would authorize the jury, if unexplained, to treat the defendant as guilty and convict," and that the excerpt from the charge complained of in the instant case did not have such a qualifying phrase or any phrase or explanation substantially the same. To state the case differently, the assignment of error goes to the proposition that the presence and flight, while raising a presumption of fact, still was a rebuttable presumption of fact. In our opinion, however, the phrase used by the court in the instant case — "unless satisfactorily explained to the jury, and of which explanation the jury are the sole and exclusive judges" — while not including a statement that it was a rebuttable circumstance or fact, in substance conveyed the same idea to the jury. In this connection, we may observe that the conviction of the defendant was not dependent wholly upon circumstantial evidence. Indeed, the positive and direct evidence of the State, if worthy of belief, beyond peradventure established the identity of the accused and that he was engaged in the operation of a distilling outfit, manufacturing whisky from corn mash. This being true, it was not incumbent upon the court without a written request to charge the rule of circumstantial evidence. There are numerous decisions to this effect. Mills v. State, 38 Ga. App. 125
(143 S.E. 575); Jones v. State, 38 Ga. App. 360
(144 S.E. 14); Sims v. State, 43 Ga. App. 438 (6) (158 S.E. 913). This ground contains no reversible error.
5. Special ground 3 assigns error on the following charge: "You, the jury, are also made by law the exclusive judges as to the credibility of the witness. In passing upon their credibility, you may take into consideration all the facts and circumstances of the case, the witnesses' manner of testifying; their means and opportunity of knowing the facts to which they testify, their intelligence, their interest or want of interest in the result of the case, their relationship to the parties, if any, their bias or prejudice, if any exists, the nature of the facts to which they testify, the probability or improbability of their testimony, and also their personal credibility, so far as the same may legitimately appear from the trial of the case." The errors assigned on this charge are: (a) that it was an erroneous statement of the law; (b) that it was an attempt to charge the Code, § 38-107, and in doing so *Page 159 
left out a certain portion, that "the jury may also consider the number of witnesses, although preponderance is not necessarily with the greater number;" (c) that it was particularly harmful to use the words "their relationship to the parties, if any," for the reason that several of the witnesses for the movant were his brothers, related to him, and such words do not appear in the Code section; (d) for the further reason that the court had already charged that the jury might consider "their interest or want of interest in the result of the case," and immediately and in conjunction therewith charged, "their relation, if any, to the party and their bias or prejudice, if any exists;" all of which led the jury to believe that on account of such relationship such testimony was to be disbelieved, and placed an additional burden upon the movant since several of his witnesses were related to him, and to believe that because of such relationship the witnesses were biased and prejudiced. It is true that it is inapt in a criminal case to give the Code, § 38-107, in its entirety, but it is not erroneous, in charging on the question of the credibility of witnesses, to give the portions of said section which apply to the credibility of witnesses. As to the further contention that the court did not charge on the number of witnesses testifying in a criminal case, this court held inMoore v. State, 57 Ga. App. 287 (3) (195 S.E. 320): "Code, § 38-107, insofar as it relates to the determination of where the preponderance of the evidence lies, obviously has no application to a criminal case. Pressley v. State, 132 Ga. 64 (8) (63 S.E. 784); Gale v. State, 135 Ga. 351 (5) (69 S.E. 537);Helms v. State, 138 Ga. 826 (5, 6), 833 (76 S.E. 353). Insofar as it relates to matters pertinent to the consideration of the credibility of witnesses, it may be given in charge to the jury in a criminal case. Bell v. State, 47 Ga. App. 216 (2) (169 S.E. 732); Thompson v. State, 160 Ga. 520
(128 S.E. 756). While the number of witnesses testifying upon an issue in a criminal case may be a circumstance of slight value in determining their credibility, it will not be held reversible error that the trial judge failed to so charge, or that, in inadvertently reading the last sentence of the above section, he immediately charged, `but that does not apply, you are not guided by the preponderance of the evidence.' Dickerson v. State,121 Ga. 136 (1), 137 (48 S.E. 942)." *Page 160 
   In Carter v. State, 69 Ga. App. 570, 575 (26 S.E.2d 374), after discussing the decision on the question, this court said: "In the instant case the court did not charge any element which the jury were not authorized to consider in determining the credibility of the witnesses testifying. Assuredly the jury were authorized to consider the bias or prejudice, if any existed, also their relationship and their personal credibility. If the jury were authorized to consider these elements, certainly the court committed no error in charging the jury that they might do so." See also Code, § 38-1712, and citations in the Carter
case. This ground is not meritorious.
There is no reversible error for any of the reasons assigned.
Judgment affirmed. Broyles, C. J., and MacIntyre, J.,concur.